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Attorney for Acis Capital Management, L.P.
and Acis Capital Management GP, LLC


                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    In re:                                                      §          Chapter 11
                                                                §
    HIGHLAND CAPITAL MANGEMENT,                                 §          Case No. 19-34054-sgj11
    L.P.,                                                       §
                                                                §          Re: Docket 247
              Debtor.                                           §
                                                                §

     ACIS CAPITAL MANAGEMENT, L.P.’S MOTION FOR LEAVE TO FILE UNDER
                  SEAL EXHIBITS F AND K TO ITS RESPONSE

             Intervenor Acis Capital Management, L.P. (“Acis”) has filed its Response to Highland

Capital Management, L.P. (“Highland”)’s Objection to Scheduled Claims 3.65 and 3.66 of

Highland CLO Management, Ltd. (“HCLOM”) (the “Response”) in the above-styled Bankruptcy

Case. 1 Acis’s Response refers to Exhibits F and K.

             Acis respectfully requests leave to file unredacted copies of Exhibits F and K under seal.

             Exhibit F is a portion of the transcript of the March 2018 hearing regarding Case No. 18-

30265-sgj7. It contains cross-examination testimony of James Dondero.

             Exhibit K is a general ledger produced by Highland showing transactions from 2011-2018.



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    Acis files this Response subject to its pending Motion to Intervene (Dkt. # 3691).

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                                               Respectfully submitted,

                                               /s/ Thomas Cooke
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                                               COUNSEL FOR ACIS CAPITAL
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                              CERTIFICATE OF CONFERENCE

       The undersigned certifies that prior to filing this Motion, I communicated with counsel for

both Highland and HCLOM to request both parties’ position on the relief requested herein. Mr.

Morris, counsel for Highland, indicated that his client is not opposed to the relief requested in this

motion. The undersigned reached out to counsel for HCLOM, but as of the time of this filing,

counsel for HCLOM has not responded.



                                                             /s/ Thomas Cooke
                                                               Thomas Cooke



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on April 5, 2023, a true and correct copy of the

foregoing document was served by electronic transmission via the Court’s CM/ECF system upon

all parties registered to receive electronic notice in this bankruptcy case, include both Highland

and HCLOM, through counsel.



                                                          /s/ Thomas Cooke
                                                            Thomas Cooke




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